              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:11cr60-1


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )             ORDER
                          )
                          )
EVERETT DEWEY SURRETT.    )
                          )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss. [Doc. 18].

     The Government moves to dismiss the Bill of Indictment against the

above-named Defendant due to his death. [Doc. 18]. For cause shown, the

motion will be granted.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 18] is GRANTED, and the Bill of Indictment against the

Defendant Everett Dewey Surrett is hereby DISMISSED WITH PREJUDICE.

     IT IS SO ORDERED.
                                        Signed: February 6, 2012




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